                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE: Paul Fitzroy Gordon aka Paul F. Gordon aka
Paul Gordon                                                                          CHAPTER 7
       Belinda Maureen Gordon aka Belinda M.
Gordon aka Belinda Gordon aka Belinda Benavides-
Gordon
                            Debtor(s)
                                                                                  NO. 18-03973 RNO
U.S. Bank National Association, as Trustee, successor
in interest to Wilmington Trust Company, as
Trustee, successor in interest to Bank of America
National Association, as Trustee, successor by merger
to LaSalle Bank National Association, as Trustee for                            11 U.S.C. Sections 362
LEHMAN XS TRUST MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-6
                                Movant
                vs.

Paul Fitzroy Gordon aka Paul F. Gordon aka Paul
Gordon
Belinda Maureen Gordon aka Belinda M. Gordon
aka Belinda Gordon aka Belinda Benavides-Gordon
                             Debtor(s)

John J. Martin
                                 Trustee

                                                    ORDER

             Upon consideration of Movant’s Motion for Relief from the Automatic Stay, it is:

             ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is

     granted and the Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy

     Abuse and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with

     respect to the subject premises located at 1011 Upper Ridge View Drive F/K/A 12 Shawnee Valley,

     East Stroudsburg, PA 18302 (“Property), so as to allow Movant, its successors or assignees, to

     proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in rem

     State Court remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to

     potentially pursuing other loss mitigation alternatives including, but not limited to, a loan




Case 5:18-bk-03973-RNO              Doc 15 Filed 10/22/18 Entered 10/22/18 11:01:41                         Desc
                                     Main Document    Page 1 of 2
   modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property at

   Sheriff's Sale (or purchaser's assignee) may take any legal action for enforcement of its right to

   possession of the Property.

  Dated: October 22, 2018                            By the Court,


                                                     Robert N. Opel, II, Chief Bankruptcy Judge         (BI)




Case 5:18-bk-03973-RNO            Doc 15 Filed 10/22/18 Entered 10/22/18 11:01:41                       Desc
                                   Main Document    Page 2 of 2
